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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA                        FILED
                                                                          I AUG 1 1 2013 I
UNITED STATES OF AMERICA,                   CASE NO. 13CR2763-DMS        CLERK i,!,5 C~-RICT COURT
                                                                     S:H';-~E~~, D1STR!CT OF CALlFCR~,I~
                                                                     BY                         DEPUH
                       Plaintiff,
                vs.                         JUDGMENT OF DISMISSAL
JOSE PENALOZA-SARABIA (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;
 x
     of the offense(s) as charged in the Information:

     21:952 and 960; 18:2 - Importation of Methamphetamine; Aiding and

     Abetting

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: August 8, 2013
                                            David H. Bartick
                                            U.S. Magistrate Judge
